                           Case 23-20084-rlj7   Doc 88-2 Filed 07/27/23 Entered 07/27/23 13:53:25           Desc
                                                        Exhibit B Page 1 of 2

                                                                  Exhibit "B"

Claims: McClain Feed Yard, Inc.

Creditors' Name                                 City/State                             Texas     Kentucky      Oklahoma           Other

2B Farms, Inc.                                  Snyder, TX                      4,062,709.27
AJ Jacques Living Trust                         Stillwater, OK                                                122,018.06
Amy & Craig Sutton                              Allen, TX                        122,018.06
Amy & Craig Sutton                              Allen, TX                        172,794.07
Angie Robinson                                  Snyder, TX                        16,909.81
Buss Family Trust                               Shawnee, OK                                                   162,503.68
C Heart Ranch, LLC                              Ardore, OK                                                           -
Cameron Weddington                              Jackson, TN                                                                  20,600.75
Charles Lockwood                                Ringling, OK                                                  218,596.63
Chris Prince                                    Blackwell, OK                                                   6,727.33
Cory Jesko                                      Hereford, TX                      28,168.07
Curtis Jones Farms                              Emporia, KS                                                                 952,777.50
David Rainey                                    Corinth, MS                                                                        -
Dennis Buss                                     Tonkawa, OK                                                   133,552.26
Don Jones Farm, Inc.                            Reading, KS                                                                3,534,569.00
Don Jones Trucking                              Reading, KS                                                                  575,416.50
Dora Blackman                                   Orlando, OK                                                    17,883.79
Doug Finley                                     Tulsa, OK                                                      43,194.13
Douglas C. Pritchett - DAC83                    Canyon, TX                        62,344.05
Douglas Pritchett - Open Area Arena             Canyon, TX                       381,518.01
Dufurrena Cutting Horses                        Gainesville, TX                  156,600.00
Dufurrena Cutting Horses                        McCool, MS                                                                   71,148.93
Dwight Jesko                                    Hereford, TX                     103,182.72
Eddie Bryant                                    Prosper, TX                       94,039.74
Eddie Stewart                                   Fort Worth, TX                   105,755.45
Garwood Cattle Company LLC                      Columbiana, OH                                                                      -
Gray Brothers Cattle                            Ralston, OK                                                   161,315.31
Gungoll Cattle Co.                              Stillwater, OK                                                165,216.33
Jace Harrold                                    Cleveland, TX                     76,674.78
James McCuan - Kingdom Trust                    Murray, KY                                     414,156.00
Janet Van Buskirk                               Ringling, OK                                                  110,690.51
                            Case 23-20084-rlj7   Doc 88-2 Filed 07/27/23 Entered 07/27/23 13:53:25     Desc
                                                         Exhibit B Page 2 of 2

Creditors' Name                                  City/State                      Texas     Kentucky        Oklahoma           Other

Janice E. Lawson                                 Blackwell, OK                                            63,321.70
Jared Lesh                                       Whitesboro, TX           2,078,869.41
Jean Nix                                         Mont Belvieu, TX            95,924.62
Joel Brookshire                                  Crosby, TX                 103,798.04
Joel Brookshire for Gene Brookshire Family, LP   Crosby, TX               2,176,630.00
Justin Stuever                                   Morrison, OK                                             13,159.14
Kensey Jones                                     Reading, KS                                                             176,915.75
Lyndal Van Buskirk                               Ringling, OK                                           2,015,143.74
Mark J Reisz                                     Box Elder, SD                                                            86,694.44
Morgan & Cody Perry                              Braman, OK                                               74,910.99
Nancy Weddington                                 Brownsville, TN                                                          17,261.98
Natalie S. Martus                                Krugerville, TX            51,226.86
Priest Cattle and Land Company, Inc.             Lorena, TX                236,560.26
Priest Victory Investment LLC                    Lorena, TX                 72,760.45
Ralph Reisz                                      Owensboro, KY                           352,125.36
Rapp Ranch                                       Weatherford, TX           101,902.95
Robert Gray                                      Ralston, OK                                              86,841.67
Robert J. Spring                                 Edmond, OK                                               49,937.58
Ronny Gray                                       Fairfax, OK                                              74,073.08
Russell Trust                                    Fort Worth, TX             488,277.67
Russell-Stewart                                  Fort Worth, TX             706,911.67
Scarlet & Black Cattle, LLC                      Amarillo, TX             1,085,621.49
Scott Livestock Company                          West Point, MS                                                        1,686,418.79
Stanley Ayers                                    Rockford, OH                                                            836,570.28
Steve Ryan                                       Yukon, OK                                                92,683.96
Susan & Colby Van Buskirk                        Ringling, OK                                            200,402.33
Thorlakson Diamond T Feeders                     Friona, TX               3,332,356.00
William A. Weddington                            Brownsville, TN                                                         235,719.59
WJ Performance Horses, Inc.                      Cleveland, TX             200,077.56
Total                                                                   $16,113,631.01   $766,281.36   $3,812,172.22   $8,194,093.51
State Percentages                                                              55.78%          2.65%         13.20%          28.37%
Claims Nos.                                                                        25              3             21              14
State Percentages                                                              39.68%          4.76%         33.33%          22.22%
